4:06-cr-03163-RGK-CRZ               Doc # 82   Filed: 07/26/07     Page 1 of 1 - Page ID # 270




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                     )
                                                              )      4:06CR3163-01
                       Plaintiff,                             )
                                                              )      ORDER OF DISMISSAL
              v.                                              )
                                                              )
ROBERT KEMP,                                                  )
                                                              )
                       Defendant.                             )

       This matter is before the Court on Plaintiff’s Motion to Dismiss Robert Kemp (Filing No.
81). Pursuant thereto,

       IT IS ORDERED Plaintiff’s motion is granted; all counts of the indictment are dismissed as
to Robert Kemp.

       July 26, 2007                           BY THE COURT:



                                               s/ Richard G. Kopf
                                               RICHARD G. KOPF
                                               United States District Judge
